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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

ODOLPH WRIGHT,                         :
                                       :
      Plaintiff,                       :
                                       : CIVIL ACTION
v.                                     : FILE NO. 2020CV342826
                                       :
WALMART STORES EAST, LP                :
                                       :
                                       :
Defendant.                             :


                             NOTICE OF REMOVAL

      Defendant Walmart Stores East, LP (“Walmart”), pursuant to 28 U.S.C. § 1441,

respectfully removes this case to the United States District Court for the Northern

District of Georgia, Atlanta Division. The grounds for removal are as follows:

1.    Parties and Service.

      On November 24, 2020, a civil action was filed in the Superior Court of Fulton

County, State of Georgia, entitled Odolph Wright v. Walmart Stores East, LP. Case

No. 2020CV342826.        Defendant Walmart was served with the Summons and

Complaint on January 16, 2021. Defendant Walmart Stores East, LP consents to this

removal. Other than the filing and service of the Complaint and Summons, no

proceedings have transpired in this matter.
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2.    Timing of Removal and Attachment of Necessary Documents.

      This Notice of Removal is timely filed within thirty (30) days of the first day of

service pursuant to 28 U.S.C. § 1446(b). Pursuant to 28 U.S.C. § 1446(a), true and

correct copies of all process and pleadings served on Walmart are attached hereto as

Exhibit 1. No other pleadings have been served.

3.    Basis for Removal – Federal Question Jurisdiction.

      This is an employment case. This Court has original federal question jurisdiction

over this case because Plaintiff’s Complaint alleges violations of federal law under

Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq. (See Complaint).

Pursuant to 28 U.S.C. § 1441(b), “any civil action of which the district courts have

original jurisdiction founded on a claim or right arising under the Constitution, treatises

or law of the United States shall be removable without regard to the citizenship or

residence of the parties.”

      This Court has supplemental jurisdiction over the Georgia state law claims

brought in the Complaint pursuant to 28 U.S.C. § 1367(a) because all such claims

“form part of the same case or controversy.” Thus, the entire action is removable under

28 U.S.C. §§ 1331, 1367 and 1441(b)-(c).




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4.    Procedural Requirements and Disclosures.

      Venue in the Federal District Court for the Northern District of Georgia, Atlanta

Division, is proper under 28 U.S.C. § 1441(a) because the state court where the action

was filed is located in this district. There are no other Defendants from whom consent

to remove is required.

      Walmart states that a true and correct copy of this Notice of Removal will be

filed with the Clerk of the Superior Court of Fulton County, State of Georgia, promptly

after the filing of this Notice of Removal, as required by 28 U.S.C. §1446(d).

      Because this Court has original jurisdiction over this action and Walmart has

satisfied the procedural requirements for removal, removal of this action to the United

States District Court for the Northern District of Georgia is proper.

      No admission of fact, law, or liability is intended by this Notice of Removal, and

Walmart expressly reserve all defenses, affirmative defenses, and motions.

      WHEREFORE, Walmart prays that this Notice of Removal be deemed good

and sufficient, and that Plaintiff’s state court action be removed into this Court for trial

and determination as provided by law, and that this Court enter such orders and issue

such process as may be proper to bring it copies of all records and proceedings in such

civil action and proceed as if it has been originally commenced in this Court.




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                            FONT CERTIFICATION

     Pursuant to LR 7.1D, NDGa, the undersigned hereby certifies that this Notice of

Removal was prepared using Times New Roman (14 point), as approved by LR 5.1B,

NDGa.


                                        Respectfully submitted,




                                        Chandra C. Davis
                                        Georgia Bar No. 141801
                                        The Employment Law Solution: McFadden
                                        Davis, LLC
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                                        COUNSEL FOR DEFENDANT




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                          CERTIFICATE OF SERVICE

      I further certify that, on February 12, 2021, I electronically filed this NOTICE

OF REMOVAL with the Clerk of Court using the CM/ECF system which will

automatically send e-mail notification of such filing to the following individuals of

record:

                   Odolph Wright
                   PO Box 82752
                   Atlanta, GA 30354

                                                   /s/ Chandra C. Davis
                                                   Chandra C. Davis
